           Case 22-50570-sms                   Doc 23       Filed 05/19/22 Entered 05/19/22 16:47:17                              Desc Main
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Fill in this information to identify your case:
Debtor 1           Bobby Damon Ingram
                      First Name          Middle Name                 Last Name
Debtor 2
(Spouse, if filing)   First Name          Middle Name                 Last Name
                                                                                                                   Check if this is an amended plan, and
United States Bankruptcy Court for the NORTHERN DISTRICT OF GEORGIA                                                list below the sections of the plan that
                                                                                                                   have been changed. Amendments to
                                                                                                                   sections not listed below will be
                                                                                                                   ineffective even if set out later in this
Case number:          22-50570                                                                                     amended plan.
(If known)




Chapter 13 Plan
NOTE:                   The United States Bankruptcy Court for the Northern District of Georgia adopted this form plan for use in Chapter 13
                        cases in the District pursuant to Federal Rule of Bankruptcy Procedure 3015.1. See Order Requiring Local Form for
                        Chapter 13 Plans and Establishing Related Procedures, General Order No. 41-2020, available in the Clerk’s Office and on
                        the Bankruptcy Court’s website, ganb.uscourts.gov. As used in this plan, “Chapter 13 General Order” means General
                        Order No. 41-2020 as it may from time to time be amended or superseded.

Part 1:       Notices

To Debtor(s):           This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that
                        the option is appropriate in your circumstances. Plans that do not comply with the United States Bankruptcy Code, local rules and
                        judicial rulings may not be confirmable.

                        In the following notice to creditors, you must check each box that applies.

To Creditors:           Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                        an attorney, you may wish to consult one.

                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                        confirmation at least 7 days before the date set for the hearing on confirmation, unless the Bankruptcy Court orders otherwise.
                        The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule
                        3015.

                        To receive payments under this plan, you must have an allowed claim. If you file a proof of claim, your claim is deemed allowed
                        unless a party in interest objects. See 11 U.S.C. § 502(a).

                        The amounts listed for claims in this plan are estimates by the debtor(s). An allowed proof of claim will be controlling,
                        unless the Bankruptcy Court orders otherwise.

                        The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or
                        not the plan includes each of the following items. If an item is checked as “Not included,” if both boxes are
                        checked, or if no box is checked, the provision will be ineffective even if set out later in the plan, except 1.4.

§ 1.1        A limit on the amount of a secured claim, that may result in a partial payment or no             Included                  Not Included
             payment at all to the secured creditor, set out in § 3.2
§ 1.2        Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,              Included                  Not Included
             set out in § 3.4
§ 1.3        Nonstandard provisions, set out in Part 8.                                                       Included                  Not Included

§ 1.4        The plan provides for the payment of a domestic support obligation (as defined in 11             Included                  Not Included
             U.S.C. § 101(14A)), set out in § 4.4.

Part 2:       Plan Payments and Length of Plan; Disbursement of Funds by Trustee to Holders of Allowed Claims

§ 2.1        Regular Payments to the trustee; applicable commitment period.



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          The applicable commitment period for the debtor(s) as set forth in 11 U.S.C. § 1325(b)(4) is:

            Check one:            36 months                 60 months

          Debtor(s) will make regular payments (“Regular Payments”) to the trustee as follows:

The debtor(s) will pay $1,000.00 per month for the applicable commitment period. If the applicable commitment period is 36 months, additional
Regular Payments will be made to the extent necessary to make the payments to creditors specified in this plan, not to exceed 60 months unless the
Bankruptcy Court orders otherwise. If all allowed claims treated in § 5.1 of this plan are paid in full prior to the expiration of the applicable
commitment period, no further Regular Payments will be made.

Check if applicable.
  The amount of the Regular Payment will change as follows (If this box is not checked, the rest of § 2.1 need not be completed or reproduced.
   Insert additional lines as needed for more changes.):


§ 2.2     Regular Payments; method of payment.

          Regular Payments to the trustee will be made from future income in the following manner:

          Check all that apply:
                   Debtor(s) will make payments pursuant to a payroll deduction order. If a deduction does not occur, the debtor(s) will pay to the
                   trustee the amount that should have been deducted.

                   Debtor(s) will make payments directly to the trustee.

                   Other (specify method of payment):


§ 2.3     Income tax refunds.

          Check one.

                   Debtor(s) will retain any income tax refunds received during the pendency of the case.

                   Debtor(s) will (1) supply the trustee with a copy of each federal income tax return filed during the pendency of the case within
                   30 days of filing the return and (2) turn over to the trustee, within 30 days of the receipt of any federal income tax refund during
                   the applicable commitment period for tax years 2022-2024 , the amount by which the total of all of the federal income tax
                   refunds received for each year exceeds $2,000 (“Tax Refunds”), unless the Bankruptcy Court orders otherwise. If debtor's spouse
                   is not a debtor in this case, "tax refunds received" means those attributable to the debtor.

                   Debtor(s) will treat tax refunds (“Tax Refunds”) as follows:


§ 2.4     Additional Payments.

          Check one.

                   None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

§ 2.5     [Intentionally omitted.]

§ 2.6     Disbursement of funds by trustee to holders of allowed claims.

          The trustee shall disburse funds in accordance with General Order No. 41-2020. (www.ganb.uscourts.gov/local-rules-and-orders)

Part 3:   Treatment of Secured Claims

§ 3.1     Maintenance of payments and cure of default, if any.

          Check one.

                   None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

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§ 3.2     Request for valuation of security and modification of certain undersecured claims.

                   None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
                   The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                   The debtor(s) request(s) that the Bankruptcy Court determine the value of the secured claims listed below.

                   For each non-governmental secured claim listed below, the debtor(s) state(s) that the value of the secured claim should be as set
                   out in the column headed Amount of secured claim. For secured claims of governmental units, unless the Bankruptcy Court
                   orders otherwise, the value of a secured claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls
                   over any contrary amount listed below. For each creditor checked below, debtor(s) will file a motion pursuant to Bankruptcy
                   Rule 3012 and the Chapter 13 General Order to request determination of the amount of the secured claim.

                   For each listed claim below, the value of the secured claim will be paid in full, with interest at the rate stated below. For a
                   secured tax claim, the interest rate shall be the interest rate stated in the proof of claim. The portion of any allowed claim that
                   exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5 of this plan. If the amount of a
                   creditor's secured claim is listed below as having no value, the creditor's allowed claim will be treated in its entirety as an
                   unsecured claim under Part 5 of this plan.

                   The trustee will make monthly preconfirmation adequate protection payments that 11 U.S.C. § 1326(a)(1)(C) requires to the
                   creditor in the amount set out in the column headed Monthly preconfirmation adequate protection payment.

                   The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the
                   property interest of the debtor(s) or the estate(s) until the earlier of:

                   (a) payment of the underlying debt determined under nonbankruptcy law, or

                   (b) payment of the amount of the secured claim, with interest at the rate set forth below, and discharge of the underlying debt
                   under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

Check     Name of creditor      Estimated      Collateral       Value of        Amount of       Amount of Interest Monthly pre- Monthly post
only if                         amount of      and date of      collateral      claims          secured   rate     confirmation -confirmation
motion                          total claim    purchase                         senior to       claim              adequate     payment
to be                                                                           creditor's                         protection
filed                                                                           claim                              payment
          Small Business                       Luxlane Inc.
          Administration        $56,400.00     Assets       $0.00                       $0.00         $0.00     0.00%            $0.00              $0.00

§ 3.3     Secured claims to be paid in full.

          Check one.

                   None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

§ 3.4     Lien avoidance.

Check one.

                   None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

§ 3.5     Surrender of collateral.

          Check one.


                   None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
                   The debtor(s) elect(s) to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s)
                   request(s) that, upon confirmation of this plan, the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that
                   the stay under § 1301 be terminated in all respects. Confirmation of the plan results in termination of such stays. Any allowed
                   unsecured claim resulting from the disposition of the collateral will be treated in Part 5 below. No payments as to the collateral
                   will be made, and all secured claims based on the collateral will not otherwise be treated by the plan.


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Name of Creditor                                                       Collateral
Suntrust Bank Atlanta                                                  2020 Cadillac Escalade 40,000 miles


 § 3.6      Other Allowed Secured Claims.

          A proof of claim that is filed and allowed as a secured claim, but is not treated as a secured claim in this plan, shall be paid with interest at the
            rate of 4.00 %. Payments will commence as set forth in § 2.6. Notwithstanding the foregoing, the debtor(s), and any other party in
            interest, may: object to allowance of the claim; request that the Bankruptcy Court determine the value of the secured claim if modification
            of the claim is permissible and if 11 U.S.C. § 506 is applicable; or request that the Bankruptcy Court avoid the creditor’s lien pursuant to 11
            U.S.C. § 522(f), if applicable.

          If the Bankruptcy Court determines the value of the secured claim, the portion of any allowed claim that exceeds the amount of the secured
             claim will be treated as an unsecured claim under Part 5 of this plan.

          The holder of the claim will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier of:

          (a) payment of the underlying debt determined under nonbankruptcy law, or

          (b) payment of the amount of the secured claim, with interest at the rate set forth above, and discharge of the underlying debt under 11 U.S.C.
             § 1328, at which time the lien will terminate and be released by the creditor.

Part 4:      Treatment of Fees and Priority Claims

§ 4.1       General.

            Trustee’s fees and all allowed priority claims will be paid in full without postpetition interest. An allowed priority claim will be paid in full
            regardless of whether it is listed in § 4.4.

§ 4.2       Trustee’s fees.

            Trustee’s fees are governed by statute and may change during the course of the case.

§ 4.3       Attorney’s fees.

            (a) The unpaid fees, expenses, and costs owed to the attorney for the debtor(s) in connection with legal representation in this case are
            $ 4,000.00 . The allowance and payment of the fees, including the award of additional fees, expenses and costs of the attorney for the
            debtor(s) are governed by General Order 42-2020 (“Chapter 13 Attorney's Fees Order”), as it may be amended.

            (b) Upon confirmation of the plan, the unpaid amount shall be allowed as an administrative expense under 11 U.S.C. § 503(b) to the extent
            set forth in the Chapter 13 Attorney's Fees Order.

            (c) From the first disbursement after confirmation, the attorney will receive payment under the Chapter 13 Attorney's Fees Order up to the
            allowed amount set forth in § 4.3(a)

            (d) The unpaid balance and any additional amounts allowed under § 4.3(c) will be payable (1) at $ 450.00 per month from Regular
            Payments and (2) from Tax Refunds or Additional Payments, as set forth in the Chapter 13 Attorney's Fees Order until all allowed amounts
            are paid in full.

            (e) If the case is converted to Chapter 7 before confirmation of the plan, the debtor(s) direct(s) the trustee to pay to the attorney for the
            debtor(s) the amount of $ 2,500.00 , not to exceed the maximum amount that the Chapter 13 Attorney’s Fees Order permits. If the
            attorney for the debtor(s) has complied with the applicable provisions of the Chapter 13 Attorney’s Fees Order, the trustee will deliver,
            from the funds available, the stated amount or the maximum amount to the attorney, whichever is less.

            (f) If the case is dismissed before confirmation of the plan, fees, expenses, and costs of the attorney for the debtor(s) in the amount of
            $ 2,500.00 , not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits, will be allowed to the extent set
            forth in the Chapter 13 Attorney's Fees Order. The attorney may file an application for fees, expenses, and costs in excess of the maximum
            amount within 14 days from entry of the order of dismissal. If the attorney for the debtor(s) has complied with the applicable provisions of
            the Chapter 13 Attorney's Fees Order, the trustee will deliver, from the funds available, the allowed amount to the attorney

            (g) If the case is converted to Chapter 7 after confirmation of the plan, the debtor(s) direct(s) the trustee to deliver to the attorney for the
            debtor(s), from the funds available, any allowed fees, expenses, and costs that are unpaid.


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          (h) If the case is dismissed after confirmation of the plan, the trustee will pay to the attorney for the debtor(s), from the funds available, any
          allowed fees, expenses, and costs that are unpaid.

§ 4.4     Priority claims other than attorney’s fees.

                   None. If "None" is checked, the rest of § 4.4 need not be completed or reproduced.

                   The debtor(s) has/have domestic support obligations as set forth below. The debtor(s) is/are required to pay all post-petition
                   domestic support obligations directly to the holder of the claim.

                                                      Name and address of child
                                                      support enforcement agency
  Name and address of creditor                        entitled to § 1302(d)(1) notice       Estimated amount of claim          Monthly plan payment
  -NONE-

                                                                                                                           $                               $

              The debtor(s) has/have priority claims other than attorney’s fees and domestic support obligations as set forth below:

  Name of creditor                                                                                 Estimated amount of claim
  Georgia Department of Revenue                                                                    $0.00
  IRS Insolvency Unit                                                                              $0.00


Part 5:   Treatment of Nonpriority Unsecured Claims

§ 5.1     Nonpriority unsecured claims not separately classified.

          Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata, as set forth in § 2.6. Holders of these claims
          will receive:

          Check one.

             A pro rata portion of the funds remaining after disbursements have been made to all other creditors provided for in this plan.

              A pro rata portion of the larger of (1) the sum of $   45,000.00      and (2) the funds remaining after disbursements have been made to
          all other creditors provided for in this plan.

             The larger of (1)      % of the allowed amount of the claim and (2) a pro rata portion of the funds remaining after disbursements have
          been made to all other creditors provided for in this plan.

             100% of the total amount of these claims.

          Unless the plan provides to pay 100% of these claims, the actual amount that a holder receives will depend on (1) the amount of claims
          filed and allowed and (2) the amounts necessary to pay secured claims under Part 3 and trustee’s fees, costs, and expenses of the attorney
          for the debtor(s), and other priority claims under Part 4.

§ 5.2     Maintenance of payments and cure of any default on nonpriority unsecured claims.

          Check one.

                   None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

§ 5.3     Other separately classified nonpriority unsecured claims.

          Check one.

                   None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

Part 6:   Executory Contracts and Unexpired Leases



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§ 6.1       The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
            contracts and unexpired leases are rejected.

            Check one.

                       None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



Part 7:        Vesting of Property of the Estate

§ 7.1       Unless the Bankruptcy Court orders otherwise, property of the estate shall not vest in the debtor(s) on confirmation but will vest in
            the debtor(s) only upon: (1) discharge of the debtor(s); (2) dismissal of the case; or (3) closing of the case without a discharge upon
            the completion of payments by the debtor(s).

Part 8:        Nonstandard Plan Provisions

§ 8.1       Check "None" or List Nonstandard Plan Provisions.

                       None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

            Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise
            included in this N.D. Ga. Chapter 13 Plan Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

            The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3. (Insert additional lines if needed.)

A. Daimler Truck Financial shall be paid direct by InterMixx Marketing, Inc.
B. Farm Bureau Bank shall be paid direct by LuxLane, Inc.
C. The administrative claim of S. Gregory Hays shall be paid simultaneously with Debtor's attorney fees at $450.00 per
month.


Part 9:        Signatures:

§ 9.1       Signatures of Debtor(s) and Attorney for Debtor(s).

            The debtor(s) must sign the initial plan and, if not represented by an attorney, any modification of the plan, below. The attorney for the
            debtor(s), if any, must sign below.

X       /s/ Bobby Damon Ingram                                                   X
        Bobby Damon Ingram                                                            Signature of debtor 2 executed on
        Signature of debtor 1 executed on     May 19, 2022

        1404 Montclair Ct SE
        Smyrna, GA 30080-3799
        Address                               City, State, ZIP code                   Address                                 City, State, ZIP code

X       /s/ Christopher J. Sleeper                                         Date: May 19, 2022
        Christopher J. Sleeper 700884
        Signature of attorney for debtor(s)

        Jeff Field & Associates                                                    342 North Clarendon Ave.
                                                                                   Scottdale, GA 30079
        Firm                                                                       Address                                    City, State, ZIP code

By filing this document, the debtor(s), if not represented by an attorney, or the attorney for debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 Plan are identical to those contained in the Local Form for Chapter 13 Plans that the Bankruptcy
Court for the Northern District of Georgia has prescribed, other than any nonstandard provisions included in Part 8.




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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

IN RE:                                            |
                                                  |
BOBBY DAMON INGRAM,                               |       CHAPTER 13
                                                  |
         DEBTOR                                   |       CASE NO. 22-50570-SMS
                                                  |

                                  CERTIFICATE OF SERVICE

         I hereby certify that I have this day served a true and exact copy of the foregoing Chapter

13 Plan to the following:

S. Gregory Hays, Chapter 7 Trustee                Electronically

Bobby Damon Ingram
1404 Montclair Ct SE
Smyrna, GA 30080

All Creditors On The
Attached Mailing Matrix

by electronic service upon filing with the Court or by placing a copy of same in a properly

addressed envelope with sufficient postage affixed thereon to insure delivery and depositing

same in the United States Mail.

         Dated: May 19, 2022

                                                   Respectfully Submitted,
                                                   JEFF FIELD & ASSOCIATES

                                                   /s/ Christopher J. Sleeper
342 North Clarendon Avenue                         ____________________________________
Scottdale, GA 30079                                CHRISTOPHER J. SLEEPER
404-499- 2700                                      Attorney for Debtor
contactus@fieldlawoffice.com                       State Bar No. 700884
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